              Case 2:19-cv-00860-MJP Document 120 Filed 04/21/21 Page 1 of 3




 1                                                                 The Honorable Marsha J. Pechman

 2

 3

 4

 5

 6

 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9
      NANCY GILL,
10
                                    Plaintiff,          No.     2:19-cv-00860-MJP
11
                     vs.                                JOINT NEUTRAL STATEMENT OF THE
12                                                      CASE
      MICHAEL MAGAN, TIMOTHY RENIHAN
13    AND THE CITY OF SEATTLE,

14                                  Defendants.

15
            The Plaintiff and Defendants propose the following neutral statement of the case:
16
                               NEUTRAL STATEMENT OF THE CASE
17
            This case is about a search warrant that Seattle police detectives executed on a house in Lake
18
     Stevens, Washington on August 22, 2017. Seattle Detectives Michael Magan and Timothy Renihan,
19
     the defendants in this case, had days before arrested a man named Steven Fisher who was being held
20
     in custody.
21

22

23


      JOINT NEUTRAL STATEMENT OF THE CASE- 1                                            Peter S. Holmes
                                                                                        Seattle City Attorney
      2:19-cv-00860-MJP                                                                 701 5th Avenue, Suite 2050
                                                                                        Seattle, WA 98104-7095
                                                                                        (206) 684-8200
              Case 2:19-cv-00860-MJP Document 120 Filed 04/21/21 Page 2 of 3




 1           On August 21, 2017, Detective Magan applied to a judge for a search warrant for Fisher’s

 2   briefcase, his car, and the residence address listed on his driver’s license, which was 3 119th Drive

 3   SE in Lake Stevens, Washington. The judge issued a search warrant.

 4           The plaintiff in this case, Nancy Gill, had purchased the residence located at 3 119th Drive SE

 5   on May 18, 2017. Ms. Gill had no connection of any kind to Fisher.

 6           At 1:30 p.m. on August 22, 2017, several Seattle police officers arrived at the residence located

 7   at 3 119th Drive SE to execute the search warrant. Ms. Gill was in the residence during the execution

 8   of the search warrant. What occurred during the search warrant execution and the facts leading up to

 9   it are disputed.

10           Ms. Gill has filed this lawsuit claiming that defendant detective Magan obtained the search

11   warrant by recklessly misleading the issuing judge and by failing to provide the judge with material

12   information about Fisher.

13           Ms. Gill also claims that defendant detectives Magan and Renihan had a reasonable opportunity

14   to call off the search of her home after learning additional material information but failed to do so. She

15   also alleges that she was unlawfully seized during the incident.

16           Lastly Ms. Gill claims that detectives Magan and Renihan and the City of Seattle were negligent.

17   Detectives Magan and Renihan, and the City of Seattle, deny these claims. They also assert that Ms. Gill

18   acted negligently and failed to mitigate her damages.

19
             DATED this 21st day of April, 2021.
20
                                            CIVIL RIGHTS JUSTICE CENTER, PLLC
21
                                            s/ Darryl Parker
22
                                            Darryl Parker, WSBA No. 30770
                                            Attorney for Plaintiff
23


      JOINT NEUTRAL STATEMENT OF THE CASE- 2                                                Peter S. Holmes
                                                                                            Seattle City Attorney
      2:19-cv-00860-MJP                                                                     701 5th Avenue, Suite 2050
                                                                                            Seattle, WA 98104-7095
                                                                                            (206) 684-8200
          Case 2:19-cv-00860-MJP Document 120 Filed 04/21/21 Page 3 of 3




 1                              PETER S. HOLMES
                                Seattle City Attorney
 2
                             By: /s/ Susan Park
 3                               Susan Park, WSBA# 53857
                                 Ghazal Sharifi, WSBA# 47750
 4                               Rebecca Widen, WSBA# 53857
                                 Assistant City Attorneys
 5
                                E-Mail: Susan.Park@seattle.gov
 6                              E-Mail: Ghazal.Sharifi@seattle.gov
                                E-Mail: Rebecca.Widen@seattle.gov
 7

 8                              Seattle City Attorney’s Office
                                701 Fifth Avenue, Suite 2050
 9                              Seattle, WA 98104
                                Phone: (206) 684-8200
10
                                Attorneys for Defendants City of Seattle, Michael Magan, and
11                              Timothy Renihan

12

13

14

15

16

17

18

19

20

21

22

23


     JOINT NEUTRAL STATEMENT OF THE CASE- 3                                 Peter S. Holmes
                                                                            Seattle City Attorney
     2:19-cv-00860-MJP                                                      701 5th Avenue, Suite 2050
                                                                            Seattle, WA 98104-7095
                                                                            (206) 684-8200
